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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA

                      Plaintiff,
                                                           Case No: 09-20215
vs.

D-10 BASKARAN THANGARASAN,

                  Defendant.
__________________________________/

                            ORDER GRANTING MOTION FOR
                              REDUCTION OF SENTENCE

        On February 21, 2012, the government filed a “Motion for a Reduction in Sentence

Pursuant to Federal Rule of Criminal Procedure 35(b)" in the above matter. The Court has

reviewed the motion, held a hearing, and has determined that a reduction should be granted,

therefore,

         IT IS ORDERED that the government’s motion is GRANTED.

         IT IS FURTHER ORDERED that the defendant’s sentence is hereby reduced from a 57

month term of imprisonment to time served. A new judgment will issue.

       IT IS SO ORDERED.


                                     S/Sean F. Cox
                                     Sean F. Cox
                                     United States District Judge

Dated: March 15, 2012

I hereby certify that a copy of the foregoing document was served upon counsel of record on
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March 15, 2012, by electronic and/or ordinary mail.

                                    S/Jennifer Hernandez
                                    Case Manager
